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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                         UNITED STATES DISTRICT COURT
9                                         EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                       )   Case No. 2:14-cr-109 TLN
                                                     )
11                                Plaintiff,         )   STIPULATION AND ORDER TO CONTINUE
                                                     )   STATUS CONFERENCE TO JANUARY 15,
12          v.                                       )   2015 AT 9:30 A.M.
                                                     )
13   PANG SHOUA XIONG,                               )   Date: December 11, 2014
     KEO SENG SAECHAO,                               )   Time: 9:30 a.m.
14                                                   )   Judge: Hon. Troy L. Nunley
                                  Defendants.        )
15                                                   )
16            The parties stipulate, through respective counsel, that the Court should continue the status
17   conference set for December 11, 2014, at 9:30 a.m., to January 15, 2015, at 9:30 a.m.
18            Defense counsel require the continuance to consult with their clients about discovery, and
19   to conduct investigation. Defense counsel require further time to meet and consult with each
20   other. The parties also require further time to engage in negotiations with the government.
21            Counsel and the defendants agree that the Court should exclude the time from the date of
22   this order through January 15, 2015, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
24   ///
25   ///
26   ///
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      Stipulation and Order to Continue                  -1-                                  2:14-cr-109 TLN
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1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: December 9, 2014                       HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ M.Petrik__________
6                                                  MICHAEL PETRIK, Jr.
7                                                  Assistant Federal Defender
                                                   Attorneys for Pang Shoua Xiong
8
     DATED: December 9, 2014
9
                                                   /s/ M.Petrik for_______
10
                                                   DUSTIN JOHNSON
11                                                 Attorney for Keo Seng Saechao

12   DATED: December 9, 2014                       BENJAMIN B. WAGNER
                                                   United States Attorney
13
14                                                 /s/ M.Petrik for_______
                                                   MATTHEW MORRIS
15                                                 Assistant U.S. Attorney

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      Stipulation and Order to Continue              -2-                                    2:14-cr-109 TLN
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1                                                ORDER
2             The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8             The Court orders the status conference rescheduled for January 15, 2015, at 9:30 a.m.
9    The Court orders the time from the date of the this order, up to and including January 15, 2015,
10   excluded from computation of time within which the trial of this case must commence under the
11   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   DATED: December 9, 2014
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14
                                                            Troy L. Nunley
15                                                          United States District Judge
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      Stipulation and Order to Continue               -3-                                     2:14-cr-109 TLN
